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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA

  RICKA THOMAS                          CASE NO.
                                        2:21−cv−04117−DSF−JEM
               Plaintiff(s),
        v.                               Order to Show Cause re
  INTERCONTINENTAL HOTELS                Dismissal for Lack of
  GROUP, PLC, et al.                     Prosecution

              Defendant(s).




       Generally, defendants must answer the complaint within 21 days after
     service or 60 days if the defendant is the United States. Fed. R. Civ. P.
     12(a)(1).
       In this case, Intercontinental Hotels Group, PLC (IHG) doing business as
     Holiday Inn Resort Aruba and Defendant Intercontinental Hotels Group
     Resources, LLC failed to plead or otherwise defend within the relevant time.
     The Court orders plaintiff to show cause in writing on or before November
     18, 2021 why the claims against the non-appearing defendant(s) should not
     be dismissed for lack of prosecution. Failure to respond to this Order may
     result in sanctions, including dismissal for failure to prosecute.

       IT IS SO ORDERED.

  Date: November 4, 2021                     /s/ Dale S. Fischer
                                            Dale S. Fischer
                                            United States District Judge
